Case 3:20-cv-00614-GPC-BLM Documen t17 Filed 08/05/20 PagelD.69 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

 

 

 

)
)
VS. ) DECLARATION OF SERVICE

)

ANGIE HANIFIN ) erson Served: . :

| Kova oh Cow

OCEANSIDE HOUSING AUTHORITY ; Date Served:

) 05 AUGUST 2020

 

 

 

I, the undersigned declare under penalty of perjury that I am over the age of eighteen years and
not a party to this action; that I served the above named person the following documents:

in the following manner: (check one)
1) By personally delivering copies to the person served.

2) ae. X By leaving, during usual office hours, copies in the office of the person served
with the person who apparently was 1n charge and thereafter mailing (by first-class

mail, postage prepaid) copies to ther person served at the place where the copies
were left.

3) By leaving copies at the dwelling house, usual place of abode, or usual place of
business of the person served in the presence of a competent member of the
household or a person apparently in charge of his office or place of business, at
least 18 years of age, who was informed of the general nature of the papers, and
thereafter mailing (by first-class mail, postage prepaid) copies to the person served
at the place where the copies were left.

4) By placing a copy in a separate envelope, with postage fully prepaid, for each
address named below and depositing each in the U.S. Mail at
on , 20
Executed on | AUGUST 05_, 2020 at 1:00PM

 

 

Name of Server: wba. has,

SU sane Soto

:;ODMA\PCDOCS\WORDPERFECT\14560\2 May 5, 1999 (10:01am)
